       Case 1:18-cr-00217-RJA-JJM Document 56 Filed 02/11/20 Page 1 of 2




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
________________________________________________

UNITED STATES OF AMERICA,

               v.                                               18-CR-217-RJA-JJM


DORIAN KELLY,

                        Defendant.
________________________________________________


                             GOVERNMENT’S WITNESS LIST


       THE UNITED STATES OF AMERICA, by and through its attorneys, James P.

Kennedy, Jr., United States Attorney for the Western District of New York, Emmanuel O.

Ulubiyo, Assistant United States Attorney, of counsel, hereby files its witness list for the

evidentiary hearing on the defendant’s motions to suppress statements, set for February 13,

2020. The government reserves its right to call witnesses not listed and will promptly advise

the Court of its intent to do so.



       1.      Lieutenant Christopher Kochersberger, Buffalo Police Department

       Lt. Kocherberger will testify regarding statements made the defendant on April 24,

2018 after the execution of a search warrant at 215 Maple Street, Buffalo, NY.



       2.      Detective Jose Lorenzo, Buffalo Police Department

       Det. Lorenzo will testify to the statements made by the defendant on April 24, 208.
       Case 1:18-cr-00217-RJA-JJM Document 56 Filed 02/11/20 Page 2 of 2




Det. Lorenzo will also testify that he processed the defendant’s arrest at the Buffalo Police

Department Central Booking on April 24, 2018.



       DATED: Buffalo, New York, February 11, 2020.


                                          JAMES P. KENNEDY, JR.
                                          United States Attorney


                                   BY:    s/ EMMANUEL O. ULUBIYO
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